Case 1:14-ml-02570-RLY-TAB Document 11010 Filed 06/10/19 Page 1 of 2 PageID #: 82495




                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   IN RE COOK MEDICAL, INC. IVC FILTERS
   MARKETING, SALES PRACTICES, AND                                  Case No: 1:14-ml-2570-RLY-TAB
   PRODUCT LIABILITY LITIGATION                                                       MDL No. 2570


   This Document Relates to:

   Lee, Anna, 1:17-cv-00111
   Tanner-Plant, Cynthia 1:17-cv-00252
   Wickard, Jennifer, 1:17-cv-01113
   Lancaster William, 1:17-cv-01760
   Collins, Kenyon Allen, 1:18-cv-00827
   Meaux, David, 1:18-cv-00844


                   STIPULATION OF DISMISSAL OF CATEGORY 2 CASES

          Above-titled Plaintiffs and Defendants Cook Incorporated, Cook Medical, LLC, and

   William Cook Europe ApS agree that the above-captioned cases listed, are dismissed without

   prejudice, with each party to bear its own costs. These Plaintiffs may refile their cases in the

   Southern District of Indiana, in the event a legally cognizable injury occurs in the future within

   the statute of limitations after that injury occurs. If any of these Plaintiffs refiles his/her case in

   any jurisdiction other than the Southern District of Indiana, this dismissal will automatically

   convert to a dismissal with prejudice. No plaintiff captioned above, however, may refile his or her

   case if the future claim is based on one of the injuries, complications, or outcomes identified by

   the plaintiff in his or her individual case in this Court. To the extent that an allegedly cognizable

   injury occurs in the future, the case may be filed in the Southern District of Indiana under this

   Order on the basis of that future injury.
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           Dated: June 10, 2019


   Respectfully submitted,

    /s/ Ben C. Martin                                /s/ James Stephen Bennett
    Ben C. Martin                                    James Stephen Bennett
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    Attorney for Plaintiffs                          Attorney for Defendants




                                    CERTIFICATE OF SERVICE

           I hereby certify that on June 10, 2019, I electronically filed the foregoing document with
    the Clerk of the Court using the CM/ECF system which will send notifications of such filing to
    the CM/ECF participants registered to receive service in this MDL.



                                                 /s/ J. Stephen Bennett__________________
                                                 J. Stephen Bennett




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